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                      Exhibit A
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     Kristine Vargas
6
                           UNITED STATES DISTRICT COURT
7                               DISRTICT OF NEVADA
8

9    KRISTINE VARGAS                                 Case No.: 2:21-cv-519
10                Plaintiff,                         COMPLAINT AND DEMAND FOR
                                                     JURY TRIAL
11         vs.
                                                     1. Telephone Consumer Protection
12                                                      Act, 47 U.S.C. §227 et seq.
     USAA FEDERAL SAVINGS BANK                       2. Intrusion Upon Seclusion
13
                 Defendant.                          (Unlawful Debt Collection Practices)
14

15

16

17
                    COMPLAINT AND DEMAND FOR JURY TRIAL
18
           Plaintiff Kristine Vargas (“Plaintiff”), by and through her attorney, alleges the
19
     following against Defendant USAA Federal Savings Bank (“USAA”):
20

21
                                      INTRODUCTION

22   1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer Protection

23      Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly regulates
24
        the use of automated telephone equipment. Among other things, the TCPA prohibits
25
        certain unsolicited marketing calls, restricts the use of automatic dialers or



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        prerecorded messages, and delegates rulemaking authority to the Federal
1

2       Communications Commission (“FCC”).

3    2. Count II of Plaintiff’s Complaint is based upon Invasion of Privacy—Intrusion upon
4
        Seclusion, as derived from §652B of the Restatement (Second) of Torts which
5
        prohibits an intentional intrusion upon the solitude or seclusion of another.
6
                                JURISDICTION AND VENUE
7
     1. Jurisdiction of the court arises under 28 U.S.C. §1331, 28 U.S.C. §1332 and 47
8

9       U.S.C. §227.

10   2. Plaintiff also brings the complaint under federal diversity jurisdiction, 28 U.S.C.
11
        §1332, as the parties are completely diverse in citizenship (Plaintiff is a citizen of
12
        Arkansas and Defendant USAA is a citizen of Nevada) and the amount in
13
        controversy exceeds $75,000.
14

15
     3. Venue is proper pursuant to 28 U.S.C. §1391(b)(2) in that a substantial part of the

16      events or omissions giving rise to the claim occurred in this District.

17   4. Because Defendant transacts business here, personal jurisdiction is established.
18
                                           PARTIES
19
     1. Plaintiff is a natural person residing in North Little Rock, Pulaski County, Arkansas.
20
     2. Defendant is a creditor engaged in the business of extending credit through credit
21

22      cards, with its principal place of business located in Las Vegas, Nevada. Defendant

23      can be served with process through its statutory agent, Corporation Service
24
        Company, located at 112 North Curry Street, Carson, Nevada 89703
25




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     3. Defendant acted through its agents, employees, officers, members, directors, heirs,
1

2       successors, assigns, principals, trustees, sureties, subrogees, representatives, and

3       insurers.
4
                                FACTUAL ALLEGATIONS
5
     1. In or around February 2020, Defendant USAA began placing phone calls to
6
        Plaintiff’s cellular phone number, ending in 1732, to collect an alleged debt.
7
     2. The calls mainly originated from (800) 531-8722.
8

9    3. Upon information and belief this number is owned and operated by Defendant

10      USAA or its agents.
11
     4. On or around February 5, 2020, at approximately 1:12pm, Plaintiff answered a call
12
        from USAA from telephone number (800) 531-8722. Plaintiff heard a pause before
13
        the collection agent began to speak, indicating the use of an automated telephone
14

15
        dialing system.

16   5. The USAA representative informed Plaintiff that USAA was attempting to collect

17      a debt.
18
     6. Plaintiff informed USAA that she was having financial difficulties due to a divorce
19
        and COVID-19 interfering with her work schedule, and instructed Defendant to
20
        only communicate with her by mail.
21

22   7. Calls from USAA stopped for a few months after Plaintiff’s revocation on February

23      5, 2020.
24
     8. Then suddenly in or around June 2020, USAA began a systematic calling campaign,
25
        often calling Plaintiff multiple times per day including weekends.



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     9. Upon information and belief, approximately one-hundred (100) calls were made by
1

2       USAA to the Plaintiff’s cellular phone after Plaintiff first requested not to be

3       contacted by telephone.
4
     10. Several times, Plaintiff answered calls from USAA and heard a short pause before
5
        the agent would begin to speak, leading Plaintiff to believe they were using an
6
        automated telephone dialing system.
7
     11. Upon information and belief, some of those calls were not connected to a live person
8

9       but was rather a pre-recorded voice message.

10   12. Plaintiff is a salon owner, and her personal mobile phone is also used by her for
11
        business calls.
12
     13. Plaintiff’s business was hard hit by the COVID-19 pandemic making it nearly
13
        impossible for her to keep up with her bills.
14

15
     14. Each phone call was a reminder of her failing business and inability to meet her

16      obligations.

17   15. USAA called Plaintiff during work hours which caused Plaintiff extreme stress
18
        which in turn affected her work performance.
19
     16. Upon information and belief, USAA placed calls whereby they either left pre-
20
        recorded or artificial voice messages for Plaintiff or intended to do so.
21

22   17. Upon information and belief, USAA also attempted to contact third parties, such as

23      family or friends, regarding a debt allegedly owed by Plaintiff.
24
     18. Upon information and belief, USAA’s system used to call Plaintiff has the capacity
25
        to store a telephone number using a random or sequential number generator.



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     17.19. Upon information and belief, USAA’s system used to call Plaintiff has the
1

2       capacity to produce a telephone number using a random or sequential number

3       generator.
4
     18.20. USAA’s conduct was not only willful but done with the intention of causing
5
        Plaintiff such distress, so as to induce her to pay the debt.
6
     19.21. USAA’s conduct as described above mounted to an unfair or unconscionable
7
        means to collect or attempt to collect the alleged debt.
8

9    20.22. USAA’s intrusion upon Plaintiff’s seclusion was highly offensive to the

10      reasonable person, oppressive, outrageous, and exceeded reasonable collection
11
        efforts. Defendants’ conduct was especially unreasonable because it called
12
        relentlessly after Plaintiff explained why she could not pay and requested to be
13
        contacted only by mail.
14

15
     21.23. As a result of USAA’s conduct, Plaintiff has sustained damages, including but

16      not limited to emotional and mental pain and anguish.

17                                         COUNT I
18                         (Violations of the TCPA, 47 U.S.C §227)
     1. Plaintiff incorporates by reference all of the above paragraphs of the Complaint as
19
        though fully stated herein.
20

21   2. Defendant violated the TCPA. Defendant’s violations include, but are not limited

22      to the following:
23
           a) Prior to the filing of this action, on multiple occasions, Defendant violated
24
               TCPA 47 U.S.C. §227(b)(1)(A)(ii) which states in pertinent part, “It shall be
25
               unlawful for any person within the United States…to make any call (other



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               than a call made for emergency purposes or made with the prior express
1

2              consent of the called party) using any automatic telephone dialing system or

3              an artificial or prerecorded voice—to any telephone number assigned to
4
               a…cellular telephone service…or any service for which the called party is
5
               charge for the call.
6
           b) Within four years prior to the filing of the action, on multiple occasions,
7
               Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s
8

9              cellular telephones using an artificial prerecorded voice or an automatic

10             telephone dialing system and as such, Defendant knowing and/or willfully
11
               violated the TCPA.
12
     3. As a result of Defendant’s violations of 47 U.S.C §227, Plaintiff is entitled to an
13
        aware of five hundred dollars ($500.00) in statutory damages, for each and every
14

15
        violation, pursuant to 47 U.S.C. §227(b)(3)(B). If the Court finds that Defendant

16      knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an aware of

17      one thousand five hundred dollars ($1,500.00), for each and every violation
18
        pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
19
                                          COUNT II
20                                    Invasion of Privacy
21                                (Intrusion Upon Seclusion)
     1. Plaintiff incorporates by reference paragraphs one (1) through twenty-one (21) of
22
        the Complaint as though fully set forth herein.
23

24   2. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are not

25      limited to, the following:




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           a) Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s
1

2              solitude and seclusion by engaging in harassing phone calls in an attempt to

3              collect on an alleged dent despite numerous requests for the calls to cease.
4
           b) Defendant’s conduct would be highly offensive to a reasonable person as
5
               Plaintiff received multiple calls per day, including calls that interrupted
6
               Plaintiff’s duties at her job after she asked them to stop calling.
7
           c) Defendant’s acts, as described above, were done intentionally with the
8

9              purpose of coercing Plaintiff to pay the alleged debt.

10   3. Defendant repeatedly called Plaintiff an excessive amount over long periods of
11
        time, including multiple calls in a single day, and often during work hours, which
12
        would cause Plaintiff large amounts of stress and embarrassment.
13
     4. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable to
14

15
        Plaintiff for actual damages. If the court finds that the conduct is found to be

16      egregious, Plaintiff may recover punitive damages.

17
                                   PRAYER FOR RELIEF
18
           WHEREFORE, Plaintiff Kristine Vargas, respectfully requests judgment be
19
     entered against Defendant USAA Federal Savings Bank for the following:
20
        A. Declaratory judgment that Defendant USAA violated the TCPA
21

22      B. Statutory damages pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C.

23         §227(b)(3)(C);
24
        C. Statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(B)
25
        D. Actual damages pursuant to 15 U.S.C. §1692k(a)(1)



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        E. Actual and punitive damages from the invasion of privacy
1

2       F. Any pre-judgment and post judgment interest as may be allowed under the

3           law; and
4
        G. Any other relief that the Honorable Court deems appropriate.
5
                                 DEMAND FOR JURY TRIAL
6
            Please take notice that Plaintiff demands a trial by jury in this action.
7

8      RESPECTFULLY SUBMITTED,
9
       Dated: March 30April 9, 2021
10

11                                                By: /s/Steven A. Alpert
                                                  Steven A. Alpert (NV 8353)
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                                                  Attorneys for Plaintiff,
16
                                                  Kristine Vargas
17

18
                                 CERTIFICATE OF SERVICE

19          I hereby certify that on March 30April 9, 2021, I electronically filed the foregoing

20   with the Clerk of the Court using the ECF system, which will send notice of such filing
21
     to all attorneys of record in this matter.
22
            /s/Jacey Gutierrez
23

24

25




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